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    Via ECF

    May 17, 2024

    Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
    United States District Court- District of NJ
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street, Court Room 7W
    Trenton, NJ 08608
    Re: In re: Johnson & Johnson Talcum Powder Products
        Marketing, Sales Practices and Products Liability Litigation -
        MDL 2738

    Dear Magistrate Judge Singh:

         In light of the PSC letter (dkt 32197) and the new paper, the expert report
   and deposition schedules will need to be adjusted modestly without impacting
   the August 22 deadline for completion of the 702 briefing so that the experts
   may address this new paper. Early this morning I reached out to Ms. O’Dell
   and Ms. Parfitt to meet and confer to that end and they have not been available
   today. But specifically, the May 21 deadline for the defense expert reports
   will need to be moved and we ask the Court’s approval of that.
             Thank you for your continued consideration of these matters.

                                            Respectfully,

                                            /s/ Susan M. Sharko
                                            Susan M. Sharko
                                            FAEGRE DRINKER BIDDLE & REATH LLP

   SMS
   Cc: All counsel of record (via ECF)

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